The defendant was charged with the crime of maintaining a house of prostitution at 104 1/2 North Sixth street in the city of Portland. She was indicted under Or. L., § 2089. She appeals and contends in this court that there was no evidence that she had violated said section. She states that the only evidence adduced by the state that defendant violated said section 2089 is as follows:
"Q. I would ask you to state who, if you know, was the landlady at 104 1/2 North Sixth street?
A. Jennie Gold.
Q. How long has Jennie Gold been the landlady at 104 1/2 North Sixth street, so far as you know, Mr. McCormick?
A. Well, she has been there five or six months, that I know. Since August, I think."
Assuming that appellant is correct in her contention that said questions constitute all the evidence, yet we think this is sufficient evidence of her possession of the premises to take the case to the jury. There was an abundance of evidence of the criminal conduct of the defendant and of the kind of business being conducted at 104 1/2 North Sixth street.
The contention is that the two questions and answers quoted above are all the evidence tending to prove the proprietorship of defendant. Webster defines "landlady" as: "1. A woman having real estate which she leases. 2. The mistress of an inn, lodging house or boarding house. 3. The mistress of a house; the hostess." As used in these two questions, the word "landlady" designates the persons in charge or possession of the premises. It is a violation of said section 2089 to have possession or be entitled to the possession of the premises used for the offensive purposes condemned *Page 637 
by the statute. If defendant was the owner of the premises she was landlady thereof. She permitted a house of prostitution to be set up therein for she was in the house directing the inmates what to do.
There is other evidence, however, tending to support the essential allegation that defendant was in possession of the premises. There is testimony to the effect that she exercised authority over the premises, directed the employees and discharged them. These acts of defendant imply that she was in possession of the premises. The evidence is scanty, but as long as there is some evidence this court can not take the case from the jury.
JUDGMENT IS AFFIRMED.
BEAN, BROWN and BELT, JJ., concur. *Page 638 